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                 Exhibit A
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        AMENDED EXHIBIT 35



         MAO DECLARATION
  OPPOSITION TO SUMMARY
        JUDGMENT
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1                    UNITED STATES DISTRICT COURT
2                   NORTHERN DISTRICT OF CALIFORNIA
3                           OAKLAND DIVISION
4
5      CHASOM BROWN, WILLIAM BYATT, )
       JEREMY DAVIS, CHRISTOPHER     )
6      CASTILLO, and MONIQUE         )
       TRUJILLO, individually and on )
7      behalf of all similarly       )
       situated,                     )
8                                    )
                    Plaintiffs,      )
9                                    )
                       vs.           )Case
10                                   )4:20-cv-03664-YGR-SVK
       GOOGLE LLC,                   )
11                                   )
                    Defendant.       )
12     ______________________________)
13
14
15
16                    VIDEO-RECORDED DEPOSITION OF
17                           BLAKE LEMOINE
18                    Thursday, December 21, 2023
19                              Volume I
20
21
22     Reported by:
       CARLA SOARES
23     CSR No. 5908
24     Job No. 6377402
25     Pages 1 - 232

                                                                     Page 1

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1     ability to become greater as a civilization, have                 10:23:27

2     involved some form of analytics.

3                  Whether that was the Farmers' Almanac or

4     the sextant, we have always used analytics to be

5     more capable at doing what we need to do as humans.               10:23:39

6     And AI is the motherload of analytics.

7           Q      Well, along those lines, you say, at line

8     8 here in paragraph 12, "In my experience, Google's

9     algorithms, machine learning, and artificial

10    intelligence are still able to reidentify the same                10:24:00

11    persons and devices, even if the end users decided

12    to use private-mode web browsing."

13                 Did you ever achieve that yourself while

14    you were at Google?     That is, did you reidentify a

15    person and device using algorithms and AI even if                 10:24:22

16    the -- when an end user had chosen to use

17    private-mode web browsing?

18          A      In 2017 and 2018, I was doing analytics

19    and research on the AI systems at Google with

20    respect to privacy.     This was in connection with my            10:24:46

21    GDPR work.

22                 In the course of that work, I ran several

23    experiments that were intended to demonstrate that

24    information which Google had removed from

25    non-personalized logs or signed-out logs or                       10:25:05

                                                                       Page 50

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1     unauthenticated logs, or whatever you want to call                10:25:08

2     the logs, that information which has been occluded,

3     intentionally left out of the logs in order to

4     maintain the user's privacy, can be inferred by the

5     AI and be acted upon by the AI and have Google's                  10:25:24

6     content-serving behaviors be affected by those

7     characteristics of the user which had been

8     intentionally excluded from the non-personalized

9     logs.

10                And in aggregate, my conclusion was that              10:25:42

11    the AI functionally reidentified users who we had

12    claimed were anonymized.

13            Q   So my question, again, is, did you ever do

14    that with regard to a specific person using

15    private-mode web browsing?                                        10:26:03

16                MR. LEE:   Asked and answered.

17                You can answer again.

18                THE WITNESS:    I ran experiments on the

19    population of Google's users in order to demonstrate

20    that they could be reidentified using AI at Google.               10:26:14

21    BY MR. SCHAPIRO:

22            Q   And you documented that -- those

23    experiments in some reports and some documents,

24    correct?

25            A   Yes, I did.                                           10:26:26

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1     for themselves.      So Google gives them a handful of             15:28:37

2     toggles to make them feel like they have control,

3     and then gives them the one product that the Google

4     engineers think is the actually good one.

5           Q    Doesn't -- doesn't Google have concern                  15:28:52

6     that violating users' privacy in this way opens them

7     up to scrutiny from regulators or subject to

8     lawsuits like this one?

9           A    Cost of doing business.       Fines are simply

10    another line on the expense report.                                15:29:06

11               MR. LEE:     I'm not done yet, but I think we

12    should take a quick break and go off the record.

13               MR. SCHAPIRO:     Okay.

14               THE VIDEO OPERATOR:       This marks the end of

15    Media Unit 4.      We are going off the record.       The          15:29:20

16    time is 3:29 p.m.

17               (Recess, 3:29 p.m. - 3:46 p.m.)

18               THE VIDEO OPERATOR:       This marks the

19    beginning of Media No. 5.       We're going back on the

20    record.   The time is 3:46 p.m.                                    15:46:12

21    BY MR. LEE:

22          Q    Welcome back, Mr. Lemoine.       Just us a

23    couple more questions.      Okay?

24          A    Okay.

25          Q    Mr. Lemoine, do you remember a Google                   15:46:22

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1     account privacy control called "Web and App                       15:46:26

2     Activity"?

3             A    Yes, I do.   In fact, the non-personalized

4     logs I was talking about earlier for the Google

5     Search app primarily are associated with people who               15:46:38

6     have turned "Web and App Activity" settings off.

7             Q    And when people have turned the "Web and

8     App Activity" setting off, is the data that's

9     collected when it's off considered logged-out or

10    signed-out data?                                                  15:46:57

11            A    So a lot of times today, both legal teams

12    have been using words which are not technical

13    synonyms as if they are technical synonyms.

14    "Unauthenticated," "logged out," "non-personalized"

15    and "anonymized" all mean different technical                     15:47:15

16    things.     So I just want to clarify.

17                 Which specific variety of those are you

18    asking about?

19            Q    Let me ask it a little more pointedly,

20    then.                                                             15:47:26

21                 Your premortem study refers to a problem

22    or a concern regarding logged-in data leaking into

23    logged-out data or vice versa.

24                 Do you recall that?

25            A    I mean, primarily it's the other way that            15:47:36

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1     we care about more, but yes.       Either way is                   15:47:38

2     possible.

3           Q     Right.

4                 So did your premortem study that expressed

5     concern about that type of leakage also apply to                   15:47:46

6     WAA-off data.

7           A     Yes.

8           Q     And does WAA-off data get used by Google's

9     AI?

10          A     Yes.                                                   15:48:06

11          Q     Okay.    Back to the topic at hand, and then

12    I think we're at the home stretch.

13                There was some discussion today that you

14    had with Google's attorney about Google's AI chatbot

15    called "LaMDA."                                                    15:48:25

16                Do you remember that?

17          A     Yes, I do.

18          Q     And just briefly, what is LaMDA?

19          A     LaMDA is a very complex artificial

20    intelligence system that ultimately provides a                     15:48:32

21    natural language interface to all of Google's

22    products simultaneously.

23                MR. LEE:     I'm going to ask Josh to mark

24    the next exhibit, Exhibit 26.

25    ///                                                                15:48:53

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                                                 07/24/24 Page
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1                   I, the undersigned, a Certified Shorthand
2      Reporter of the State of California, do hereby
3      certify:
4                   That the foregoing proceedings were taken
5      before me at the time and place herein set forth;
6      that any witnesses in the foregoing proceedings,
7      prior to testifying, were administered an oath; that
8      a record of the proceedings was made by me using
9      machine shorthand which was thereafter transcribed
10     under my direction; that the foregoing transcript is
11     a true record of the testimony given.
12                  Further, that if the foregoing pertains to
13     the original transcript of a deposition in a Federal
14     Case, before completion of the proceedings, review
15     of the transcript [ ] was [X] was not requested.
16                  I further certify I am neither financially
17     interested in the action nor a relative or employee
18     of any attorney or any party to this action.
19                  IN WITNESS WHEREOF, I have this date
20     subscribed my name.
21     Dated: DECEMBER 22, 2023
22
23
24                                 <%7529,Signature%>
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25                                    CSR No. 5908

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